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                     IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             GALVESTON DIVISION


 CARLOS KNOX                                  §
                                              §
 VS.                                          §
                                              §           C.A. NO. ______________
 HORNBECK OFFSHORE SERVICES,                  §
 LLC                                          §

                PLAINTIFF’S ORIGINAL VERIFIED COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       COMES NOW Plaintiff Carlos Knox (“Knox”), complaining of Hornbeck Offshore

Services, LLC (“Hornbeck” or “Defendant”), and, for cause of action, would respectfully

show unto this Honorable Court the following:

                                       I. PARTIES

       1.1    Plaintiff Carlos Knox, is a U.S. citizen and resident of the state of Louisiana.

       1.2    Defendant Hornbeck Offshore Services, LLC, is a foreign limited liability

company with its principal place of business outside of the State of Texas, but doing business

within the State of Texas for the purpose of accumulating monetary profit. It can be served

by serving its registered agent, which is located outside the Southern District of Texas:

Corporation Service Company D/B/A CSC-Lawyers Incorporating Service Company, 211

E. 7th Street, Suite 620, Austin, TX 78701-3218.
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                                   II. JURISDICTION

       2.1    The Court has jurisdiction over the lawsuit under 28 U.S.C. §1333 because the

suit involves admiralty and maritime jurisdiction. This case is brought pursuant to 28 U.S.C.

§ 1333, the general maritime law, and Rule B of the Supplemental Rules for Certain

Admiralty or Maritime Claims & Certain Asset Forfeiture Actions of the Federal Rules of

Civil Procedure.

       2.2    This Court has jurisdiction over the Defendant based on its intentional,

continuous and substantial contacts with Texas, and the presence in this District of property

owned by and owed to Defendant.

                                       III. VENUE

       3.1    Venue is proper in this matter pursuant to the admiralty and maritime laws of

the United States, Rule 82 Fed. R. Civ. P.

                   IV. FACTS AND NEGLIGENCE OF DEFENDANT

       4.1    At all material times hereto, Defendant owned, operated and/or crewed the

HOS Bayou, the vessel on which Plaintiff was injured, a vessel operating in navigable waters

of the Gulf of Mexico.

       4.2    At all material times hereto, Plaintiff was employed by Encore Catering,

working as a galley hand and member of the crew of the vessel, and therefore a borrowed

servant of Defendant.




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       4.3    On or about August 10, 2018, while performing his duties in the service of the

Vessel, Plaintiff sustained severe injuries to his head and back, among other injuries, when

he slipped on stairs on the vessel. The injuries suffered by Plaintiff were caused by the

negligence and/or gross negligence of Defendant, and unseaworthiness of the vessel, in the

following particulars, among others:

       (a)    failing to provide proper and adequate equipment to perform the job;

       (b)    failing to maintain the vessel and her appurtenances and/or equipment in a safe
              and reasonable state of repair;

       (c)    failing to take reasonable precautions for Plaintiff’s safety;

       (d)    failing to provide Plaintiff with a reasonably safe place to work; and

       (e)    other acts of negligence and/or omissions to be shown at trial herein.

                              V. COUNT 1 - JONES ACT

       5.1    Plaintiff’s injuries were sustained in the course of his employment and were

caused by the negligence and/or gross negligence of Defendant, their officers, agents, or

employees, as described herein.

                        VI. COUNT 2 - UNSEAWORTHINESS

       6.1    Plaintiff's injuries were caused by Defendant’s breach of duty to furnish a

seaworthy vessel.

                             VII. RULE B ALLEGATIONS

       7.1    Plaintiff is informed and believes that none of the officers of Defendant is now

within the Southern District of Texas, that Defendant does not maintain an office within this

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District, that Defendant is not incorporated or formed in, the State of Texas, that Defendant

does not have an agent for service of process in this District, and that Defendant cannot be

found within this District for purposes of Rule B of the Supplemental Rules for Certain

Admiralty or Maritime Claims & Asset Forfeiture of the Federal Rules of Civil Procedure.

       7.2    Plaintiff is informed and believes that Defendant does now, or will during the

pendency of this action, have, certain goods and chattels, or credits and effects within the

Southern District of Texas.

                                     VIII. DAMAGES

       8.1    As a direct and proximate result of Defendant’s negligence and/or gross

negligence, Plaintiff suffered injuries to his body, and the following resultant damages,

including, but not limited to: (a) mental anguish in the past and future; (b) lost earnings; (c)

loss of earning capacity; (d) disfigurement in the past and future; (e) physical impairment in

the past and future; (f) medical expenses in the past and future; (g) physical pain and

suffering in the past and future; (h) punitive damages.

       8.2    Plaintiff is seeking monetary relief up to $3,000,000.

                                   IX. JURY DEMAND

       9.1    Plaintiff demands a trial by jury herein.

       WHEREFORE, Plaintiff prays:

       a.     That process in due form of law according to the practice of this Honorable
              Court issue against Defendant summoning it to appear and answer, all and
              singular, the matters aforesaid;



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      b.     That process of maritime attachment and garnishment issue to attach and seize
             Defendant’s tangible or intangible personal property, goods, chattels, credits
             and effects, including, but not limited to property held by others owed to
             Defendant– up to the amount sued for – in the hands of garnishees named in
             the process;

      c.     That as soon as practicable following the attachment and/or seizure of the
             things identified herein, a further hearing be held by this Court pursuant to
             Rule E(4)(f) of the Supplemental Rules for Certain Admiralty and Maritime
             Claims of the Federal Rules of Civil Procedure;

      d.     That a judgment may be entered in favor of Plaintiff against Defendant for the
             amount of his claim up to $3,000,000, and that a decree of condemnation issue
             against the property of Defendant; and

      e.     That Plaintiff may have such other and further relief as plead herein, and
             which this Court and justice may deem just and appropriate under the
             circumstances of the cause, and all other and further relief to which he may be
             entitled, in law or in equity.

                                         Respectfully submitted,

                                         /s/ Eric J. Rhine
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